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LIW/SRD/ASIZ: USAQ#2020R00605

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

 

UNITED STATES OF AMERICA

 

 

Criminal No. LKG 22-7

 

 

 

v. (Perjury, 18 U.S.C. § 1621; False Statement
on a Loan Application, 18 U.S.C. § 1014).
MARILYN J. MOSBY,
Defendant
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SUPERSEDING INDICTMENT ao = on
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The Grand Jury for the District of Maryland charges that: Boy gna
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COUNT ONE on 2 2a
(Perjury — May 2020 COVID 19 FINANCIAL HARDSHIP WITHRAWAL)- sm
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1. Defendant MARILYN J. MOSBY (“MOSBY”) was a residfent of Baltiinote,
Marytand. MOSBY was elected as the State’s Attorney for Baltimore City in 2014 and re-elected
in 2018.

2. The City of Baltimore provided payroll services, including a Deferred
Compensation Plan pursuant to section 457(b) of the Internal Revenue Code (hereafter referred to
as a “457(b) plan”), to the Baltimore City State’s Attorney’s Office, including for State’s Attorney
MOSBY. Only state and local governments and some non-profit organizations can offer 457(b)
plans to employees. Employees participating in 457(b) plans can contribute a portion of their
salary to a retirement account. That money and any earnings accumulated by the employee are
not taxed until they are withdrawn. A state or local government employee may withdraw money
from their 457(b) plan when they leave their job and must begin taking distributions by the age of
seventy and a half years old. Employees may also make withdrawals from a 457(b) plan for

unforeseen emergencies that meet certain legal criteria, if all other financial resources are
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exhausted. The Coronavirus Aid, Relief, and Economic Security (CARES) Act created a new
withdrawal option in calendar year 2020 only for 457(b) plan participants who were affected by
COVID-19.

3. On May 26, 2020, MOSBY emailed a “City of Baltimore Retirement Savings and
Deferred Compensation Plans 457(b) Coronavirus-Related Distribution Request” to Nationwide,
the financial services firm that managed MOSBY’s City of Baltimore Deferred Compensation
Plan account. Using this form, MOSBY requested a one-time withdrawal of $40,000 from her
City of Baltimore employee retirement account.

4. The form contained the following:

Participant Coronavirus Certification and Distribution Authorization

The Coronavirus Aid, Relief and Economic Security Act of 2020 (“CARES
Act”) was signed into law on March 27, 2020. The CARES Act permits
qualifying members to receive a coronavirus-related distribution. I
understand that | may receive a distribution of up to $100,000 if I am a
qualified individual. By making this request, I acknowledge that the amount
of coronavirus-related distribution(s) which I may obtain from The City of
Baltimore Deferred Compensation Plan is limited to the amount of
$100,000 and that I am not exceeding this limit. I further acknowledge
that the City of Baltimore Deferred Compensation Plan is relying on
my certifications in determining that I qualify for a coronavirus-related
distribution and that 1 will not exceed the applicable limit.

By signing this form, I certify that I meet at least one of the qualifications
for a distribution as defined under the CARES Act Section
2202(a)(4)(A) summarized below: (check one)

(emphasis added).
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5. MOSBY then falsely certified the following:

 

| have experienced adverse financial consequences stemming from such virus or disease as a result of:
* Being quarantined, Furloughed or laid off :
* Having reduced work hours
* Being unable to work due to lack of child care

* The closing or reduction of hours of a business | own or operate :

 

Under the heading, “Additional Acknowledgments” the form contained the following:
I consent to a distribution as elected above and affirm under penalties for
perjury the statements and acknowledgements made in this request. |
understand that the terms of the plan document will control the amount and
timing of any payment from the plan.

(emphasis added)

6. MOSBY signed this form under these “Additional Acknowledgments,” including
that she “affirm[ed] under penalties for perjury the statements and acknowledgements made
in this request.”

7. MOSBY had not experienced adverse financial consequences stemming from the
Coronavirus as a result of “being quarantined, furloughed or laid off” or “having reduced work
hours” or “being unable to work due to lack of childcare” or “the closing or reduction of hours of
a business I own or operate.”

8. In fact, MOSBY’s gross salary in 2020 was $247,955.58, and it was never reduced.
She received bi-weekly gross pay direct deposits in the amount of $9,183.54 in all the months
leading up to her “City of Baltimore Retirement Savings and Deferred Compensation Plans 457(b)
Coronavirus-Related Distribution Request” in May 2020. Rather than experiencing a reduction in

income in 2020, MOSBY’s gross salary in 2020 increased over her gross salary in 2019, which

was $238,772.04.
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|

9. On May 29, 2020, MOSBY received an electronic funds transfer in the amount of
$36,000 in her Bank of America account ending in 9041 from Nationwide as a result of the
submission of this form. MOSBY used the withdrawal toward a down payment for a vacation

home in Kissimmee Florida she purchased in September 2020.

The Charge
10. On or about the 26th day of May, 2020, in the District of Maryland,

MARILYN MOSBY

did submit a “457(b) Coronavirus-Related Distribution Request” to Nationwide, the administrator
of the City of Baltimore’s Deferred Compensation Plans, executed under penalty of perjury under
the format of 28 U.S.C. § 1746, in which she did willfully and knowingly state material matter
which she did not believe to be true, that is to say, the Defendant experienced adverse financial
consequences stemming from the Coronavirus as a result of being quarantined, furloughed or laid
off; having reduced work hours; being unable to work due to lack of child care; or the closing or
reduction of hours of a business she owned or operated.

11. At the time and place aforesaid Nationwide, the administrator of the City of
Baltimore’s Deferred Compensation Plans, did require that distribution requests be in writing and
executed in the format provided by 28 U.S.C. § 1746. It was material to such distribution requests
that the applicant certify that s/he met at least one of the qualifications for a distribution as defined
under the CARES Act Section 2202(a)(4)(A) as summarized on the distribution request.

12. At the time and place aforesaid, MOSBY submitted a signed written distribution
request to Nationwide, the administrator of the City of Baltimore’s Deferred Compensation Plans,
which contained the following statement: “I consent to a distribution as elected above and affirm
under penalties for perjury the statements and acknowledgements made in this request.”
This affirmation was made on May 26, 2020, and was signed by MOSBY. The distribution request

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signed and submitted by MOSBY did falsely state that she experienced adverse financial
consequences stemming from the Coronavirus as a result of being quarantined, furloughed or laid
off; having reduced work hours; being unable to work due to lack of childcare; or the closing or —
reduction of hours of a business she owned or operated.

13. The aforesaid statement in the distribution request signed and submitted by
MOSBY, as she knew, was false in that MOSBY received her full gross salary of $247,955.58
from January 1, 2020, through the date on which she signed this form, May 20, 2020, in bi-weekly
gross pay direct deposits in the amount of $9,183.54 and had not experienced any of the
enumerated financial hardships she claimed to have experienced.

18 U.S.C. § 1621
28 U.S.C. § 1746
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COUNT TWO
(False Statement on Loan Application}

The Grand Jury for the District of Maryland further charges that:

1. Paragraph 1 of Count One is realleged and incorporated by reference as though
fully set forth in this Count.

Mosby’s Federal Tax Debt

2. The Internal Revenue Service of the Department of Treasury (“IRS”) was an
agency of the United States government responsible for enforcing the nation’s revenue laws and
collecting federal income taxes.

3, A federal tax lien was the government’s legal claim against a taxpayer’s property
when a taxpayer neglected or failed to pay a tax debt. The lien protected the government’s interest
in all the delinquent taxpayer’s property, including real estate, personal property and financial
assets.

4, For the tax years 2014 through 2018, MOSBY filed joint tax returns with her
husband on IRS Form 1040.

5. MOSBY and her husband owed the IRS taxes for the tax years 2014 and 2015,
specifically:

a. $46,556 for tax year 2014, which they did not pay when they filed a joint return on
September 23, 2015; and

b. $17,812 for tax year 2015, which they did not pay when they filed a joint return on
October 20, 2016.

6. On or about November 2, 2015, the IRS sent MOSBY and her husband, at their
home address, a “CP 14” notice which informs a taxpayer that they owe money on unpaid taxes,

in this case for the tax year 2014.
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7. On or about November 28, 2016, the IRS sent MOSBY and her husband, at their
home address, a “CP 14” notice which informs a taxpayer that they owe money on unpaid taxes,
in this case for the 2015 tax year.

8. On or about October 16, 2017, MOSBY and her husband filed a joint 2016 tax
return. According to the tax return, MOSBY and her husband owed a total tax of $43,396. Since
$50,185 in federal income tax had been withheld, MOSBY and her husband received a refund of
$6,789. That refund was applied against taxes MOSBY and her husband owed the IRS from
previous years. On or about November 13, 2017, the IRS sent MOSBY and her husband, at their
home address, a “CP 49” riotice which informs a taxpayer that the IRS used all or part of their
refund to pay a tax debt.

9. On or about August 24, 2018, MOSBY and her husband filed a joint 2017 tax
return. According to the tax return, MOSBY and her husband owed total tax of $36,387. Since
$48,106 in federal income tax had been withheld, MOSBY and her husband received a refund of
$11,719. That refund was applied against taxes MOSBY and her husband owed the IRS from
previous years. On or about September 25, 2018, the IRS sent MOSBY and her husband, at their
home address, a “CP 49” notice which informs a taxpayer that the IRS used all or part of their
refund to pay a tax debt.

10. On or about October 15, 2019, MOSBY and her husband filed a joint 2018 tax
return. According to the tax return, MOSBY and her husband owed total tax of $34,695. Since
$39,780 in federal income tax had been withheld, MOSBY and her husband received a refund of
$5,085. That refund was applied against taxes MOSBY and her husband owed the IRS. On or
about November 11, 2019, the IRS sent MOSBY and her husband, at their home address, a “CP

49” notice which informs a taxpayer that the IRS used all or part of their refund to pay a tax debt.
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11. On or about March 3, 2020, the IRS placed a lien on “all property and rights to
property belonging to” MOSBY in the amount of the unpaid taxes MOSBY owed the IRS as of
that date which was in the amount of $45,022. The lien applied to MOSBY and her husband
individually. On or about that same date, the IRS sent a “Notice of Lien Filing and Right to
Collection Due Process Hearing” to MOSBY and her husband, individually, by certified mail, at
their home address.

12. On or about March 23, 2020, the IRS sent MOSBY and her husband, at their home
address, a “CP 71C” notice, which reminds a taxpayer that they owe tax, penalties and interest. As
of that date, MOSBY and her husband jointly owed the IRS an outstanding balance of $69,040.

13. ‘For the tax year 2019, MOSBY and her husband filed separate tax returns. On or
about June 17, 2020, MOSBY submitted a 2019 U.S. Individual Income Tax Return on IRS Form
1040 on which she claimed that she was due a refund of $549. The refund was applied against
taxes MOSBY and her husband owed the IRS.

The Kissimmee Vacation Home

14. On or about July 28, 2020, and again on or about September 2, 2020, at closing,
MOSBY signed an application for a $490,500 mortgage from Cardinal Financial Company, LLP
to purchase a home in Kissimmee, Florida.

15. The application required MOSBY to disclose her liabilities. MOSBY did not
disclose that she owed significant amounts of federal taxes.

16. Further, in response to the question, “Are you presently delinquent or in default on
any Federal debt or any other loan, mortgage, financial obligation, bond, or loan guarantee,”
MOSBY indicated “no” despite the fact that she was delinquent in the payment of federal taxes

resulting in the IRS filing a $45,022 lien against her on March 3, 2020.
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17. One week prior to closing on the Kissimmee vacation home, on or about August
25, 2020, MOSBY executed an agreement with a vacation home management company giving the
management company control over the rental of the property she ultimately purchased in
Kissimmee. The agreement stated, in relevant part, “The Manager will always be obligated to and
have the right to offer the Vacation Home for rent during the time of this contract, UNLESS PRE-
BOOKED ON THE COMPANIES [sic] COMPUTERISED BOOKING SYSTEM BY OWNER.”

18. As part of the mortgage application for the Kissimmee property, on or about
September 2, 2020, MOSBY executed a document titled SECOND HOME RIDER, which stated
that it was to be “incorporated mto and shall be deemed to amend and supplement the Mortgage,
Deed of Trust, or Security Deed (the “Security Instrument”) of the same date given by the
undersigned...to secure the Borrower’s Note to Cardinal Financial Company...of the same date
and covering the Property described in the Security Instrument...” The Second Home Rider
provided that:

Borrower will occupy and use the Property as Borrower’s second home. Borrower

will maintain exclusive control over the ownership of the Property, including

short-term rentals, and will not subject the Property to any...agreement that

requires the Borrower either to rent the Property or give a management firm

or any other person or entity any control over the occupancy or use of the

Property. Borrower will keep the Property available primarily as a residence for

Borrower’s personal use and enjoyment for at least one year after the date of this

Second Home Rider, unless Lender otherwise agrees in writing...
(emphasis added). MOSBY signed and dated the Second Home Rider below a line that stated,
“BY SIGNING BELOW, Borrower accepted and agrees to the terms and covenants contained in

this Second Home Rider,” which was false since MOSBY had entered into the agreement with a

vacation home management company described above one week prior.
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19. By falsely executing the Second Home Rider, MOSBY could obtain a lower
interest rate on the mortgage for the property than the one she would have received if she had not
executed the Second Home Rider and she was able to make a smaller down payment.

The Charge

20. From in or about July 2020 through in or about September 2020, in the District of

Maryland and elsewhere, the Defendant,

MARILYN J. MOSBY

knowingly made false statements or reports for the purpose of influencing in any way the action
of Cardinal Financial Company, LLP, a mortgage lending business as defined in 18 U.S.C. § 20,
in connection with an application, advance, discount, purchase, purchase agreement, repurchase
agreement, commitment, or loan, in that: (1) MOSBY certified the only liabilities she owed were
those disclosed in the application, when in truth and fact, as MOSBY knew, she owed significant
amounts of federal taxes; (2) that she was not presently delinquent or in default on any Federal
debt, when in truth and in fact, as MOSBY knew, she was delinquent in paying her federal taxes
resulting in the IRS filing a $45,022 lien against her on March 3, 2020; and (3) MOSBY agreed
that she would not give a management firm or any other person or entity control over the
occupancy or use of the Kissimmee vacation home when in truth and in fact, as MOSBY knew,
she had executed such an agreement one week prior to closing on the mortgage on the property.

18 U.S.C. § 1014

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COUNT THREE

(Perjury — December 2020 COVID 19 HARDSHIP WITHDRAWAL)

The Grand Jury for the District of Maryland further charges that:

1,

Paragraphs 1 and 2 of Count One are realleged and incorporated by reference as

though fully set forth in this Count.

2.
Retirement Savings and Deferred Compensation Plans 457(b) Coronavirus-Related Distribution
Request” to Nationwide, which managed MOSBY’s City of Baltimore Deferred Compensation

Plan account.

3.

On or about December 29, 2020, MOSBY submitted a second “City of Baltimore

This time, MOSBY requested a one-time withdrawal of $50,000 from her City of

Baltimore employee retirement account.

4,

The form contained the following:
Participant Coronavirus Certification and Distribution Authorization

The Coronavirus Aid, Relief and Economic Security Act of 2020 (‘CARES
Act”) was signed into law on March 27, 2020. The CARES Act permits
qualifying members to receive a coronavirus-related distribution. I
understand that I may receive a distribution of up to $100,000 if I am a
qualified individual. By making this request, T acknowledge that the amount
of coronavirus-related distribution(s) which I may obtain from The City of
Baltimore Deferred Compensation Plan is limited to the amount of
$100,000 and that I am not exceeding this limit. I further acknowledge
that the City of Baltimore Deferred Compensation Plan is relying on
my certifications in determining that I qualify for a coronavirus-related
distribution and that J will not exceed the applicable limit.

By signing this form, I certify that I meet at least one of the
qualifications for a distribution as defined under the CARES Act
Section 2202(a)(4)(A) summarized below: (check one)

(emphasis added).

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5. MOSBY then falsely certified the following:

 

Et have experienced adverse financial consequences stemming from such virus or disease as a result of:
* Being quarantined, furloughed or iaid off
* Having reduced work hours
*« Being unable to work due to lack of child care

* The closing or reduction of hours of a business | own or operate

 

 

 

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6. Under the heading, “Additional Acknowledgments” the form contained the

following:
I consent to a distribution as elected above and affirm under penalties for
perjury the statements and acknowledgements made in this request. |
understand that the terms of the plan document will contro] the amount and
timing of any payment from the plan.

(emphasis added)

7. MOSBY signed this form under these “Additional Acknowiedgments,” including
that she “affirm [ed] under penalties for perjury the statements and acknowledgements made
in this request.”

8. MOSBY had not experienced adverse financial consequences stemming from the
Coronavirus as a result of “being quarantined, furloughed or laid off’ or “having reduced work
hours” or “being unable to work due to lack of child care” or “the closing or reduction of hours of
a business I own or operate.”

9. MOSBY’s gross salary in 2020 was $247,955.58, and it was never reduced and she
received bi-weekly gross pay direct deposits in the amount of $9,183.54, Rather than experiencing
a reduction in income in 2020, MOSBY’s gross salary in 2020 increased over her gross salary in
2019, which was $238,772.04.

10. On December 31, 2020, MOSBY received an electronic funds transfer in the

amount of $45,000 in her Bank of America account ending in 9041 from Nationwide as a result of

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the submission of this form. MOSBY used the withdrawal toward a down payment for a second
vacation home in Long Boat Key, Florida, she purchased in February 2021.
The Charge
11. On or about December 29, 2020, in the District of Maryland,
MARILYN J. MOSBY
did submit a “457(b) Coronavirus-Related Distribution Request” to Nationwide the administrator
of the City of Baltimore’s Deferred Compensation Plans, executed under penalty of perjury under
the format of 28 U.S.C. § 1746, in which she did willfully and knowingly state material matter
which she did not believe to be true, that is to say, the Defendant experienced adverse financial
consequences stemming from the Coronavirus as a result of being quarantined, furloughed or laid
off; having reduced work hours; being unable to work due to lack of child care; or the closing or
reduction of hours of a business she owned or operated.

12. At the time and place aforesaid Nationwide, the administrator of the City of
Baltimore’s Deferred Compensation Plans, did require that distribution requests be in writing and
executed in the format provided by 28 U.S.C. § 1746. It was material to such distribution requests
that the applicants certify that s/he meet at least one of the qualifications for a distribution as
defined under the CARES Act Section 2202(a)(4)(A) as summarized on the distribution request.

13. At the time and place aforesaid, MOSBY submitted a signed written distribution
request to Nationwide, the administrator of the City of Baltimore’s Deferred Compensation Plans,
which contained the following statement: “I consent to a distribution as elected above and affirm
under penalties for perjury the statements and acknowledgements made in this request.”
This affirmation was made on or about December 29, 2020 and was signed by MOSBY. The

distribution request signed and submitted by MOSBY, did falsely state that she experienced

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adverse financial consequences stemming from the Coronavirus as a result of being quarantined,’
furloughed or laid off; having reduced work hours; being unable to work due to lack of childcare;
or the closing or reduction of hours of a business she owned or operated.

14. The aforesaid statement in the distribution request signed and submitted by
MOSBY, as she then and there well knew and believed, was false in that MOSBY received her
full salary of $247,955.58 from January 1, 2020, through the date on which she signed this form,
December 29, 2020, in bi-weekly gross pay direct deposits in the amount of $9,183.54 and had not
experienced any of the enumerated financial hardships she claimed to have experienced.

18 U.S.C. § 1621
28 U.S.C. § 1746

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COUNT FOUR
(False Statement on a Loan Application)

The Grand Jury for the District of Maryland further charges that:
21. ‘Paragraph 1 of Count One and Paragraphs 2 through 13 of Count Two are realleged
and incorporated by reference as though fully set forth in this Count.
Long Boat Key Vacation Home
22. On or about December 10, 2020, MOSBY drafted the following letter to be

submitted by her loan broker to the mortgage company:

12/10/2020
To whom it may concern,

I live and work in Baltimore, MD along with my two children and my husband in a property owned by my
husband (my name is not on the mortgage or the deed to the property). However, | recently purchased
a second home in Kissimmee, Florida, which is about 15 minutes away from Disney. The Kissimmee
property is a perfect second home because of the space it affords my extended family to visit and its
proximity to Disney. We’ve been able to host my extended family including my sister and her husband
and children. The home is spacious and comfortable and because of my ability to work remotely, my
family and | have spent the past 70 days there.

Recently, my sister bought a beach property in Longboat Key, Florida, which is approximately a two-hour
drive {~120 Miles) from my property in Kissimmee. It is nestled directly across the street from the beach
in a small subdivision with three other properties. labsolutely adore my sister’s beach property because
of its proximity to the beach, the safe and friendly environment of the town, and the fact that my sister
is right next door. Just recently one of the homes within the subdivision popped up on the market and |
want to purchase it as a second vacation home. We love the beach. | don’t know how long
“Quarantine” will last but this is an opportunity to make memories with my family. This subdivision has
4 properties altogether, all are being sold by the developer, and my sister bought the first one and has
already moved into it. My sister convinced a mutual friend of ours along with his wife and children to
purchase one of the units as their second home and now I’m hoping to the so the same.

Sincerely,

arilyn J. Mosby

 

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23. In that letter, MOSBY falsely represented that she had spent the past 70 days living
in Florida and working remotely when she, in fact, had not. Her loan broker submitted the letter to
United Wholesale Mortgage on or about January 15, 2021. United Wholesale Mortgage reviewed
this letter when it changed the mortgage from one for a primary residence, which was what
- MOSBY had indicated it would be used for when she first applied, to a secondary residence.

24. On or about January 14, 2021, and again on or about February 19, 2021, at closing,
MOSBY signed an application for a $428,400 mortgage from United Wholesale Mortgage to
purchase a condominium in Long Boat Key, Florida.

25. The application required MOSBY to disclose her liabilities. MOSBY did not
disclose that she owed significant amounts of federal taxes.

26. In response to the question, “Are you presently delinquent or in default on any
Federal debt or any other loan, mortgage, financial obligation, bond, or loan guarantee,” MOSBY
indicated “no” despite the fact that she was delinquent in the payment of federal taxes resulting in
the IRS filing a $45,022 tax lien against her on March 3, 2020.

27, Further, as part of the mortgage application, MOSBY signed a “BORROWER’S
CERTIFICATION AND AUTHORIZATION” which included the following statements:

a. I have applied for a mortgage loan and in applying for the loan, I have

completed a loan application containing various information on the purpose of
the loan, the amount and source of the down payment, employment and income
information, and assets and liabilities. I certify that all of the information is true
and complete. I made no misrepresentations in the loan application or other
documents, nor did I omit any pertinent information.

b. I fully understand that it is a Federal crime punishable by fine or imprisonment,

or both, to knowingly make any false statement when applying for a mortgage,
as applicable under the provisions of 18 USCA § 1014.

28. Included in the closing documents was a document titled, “ATTENTION

SETTLEMENT AGENT,” which provided that “The borrower(s) must attest to the following

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statements as a part of closing their loan. If any of the information below is not true and the
borrower cannot attest to ANY part of it, DO NOT PROCEED WITH THE CLOSING AND
CONTACT THE LENDER for further guidance.” Below this statement MOSBY identified her
“Current Financial Obligations,” as the mortgage on the Kissimmee, Florida, home she had
purchased earlier in 2020, three installment loans, the car loan for her BMW, and a revolving credit
card liability. MOSBY did not disclose her federal tax debt or the fact that the IRS had filed a
$45,022 lien against her on March 3, 2020. Below these entries and above her signature was the
following attestation: “the above debts/liabilities are all to which I am currently obligated, per my
credit report dated JANUARY 9, 2021, and/or any other debts that were presented on my loan
application. There are no additional installment debts, home equity lines or mortgages.”

29. On January 28, 2021, prior to closing, MOSBY signed a document titled,
“MORTGAGE FRAUD IS INVESTIGATED BY THE FBI” which advises the signer that:

Mortgage Fraud is investigated by the Federal Bureau of Investigation and is

punishable by up to 30 years in federal prison or a $1,000,000 fine, or both. It is

illegal for a person to make any false statement regarding income, assets, debt ...

in a loan and credit application for the purpose of influencing in any way the action

of a financial institution.

The warning then stated, “Some of the applicable federal criminal statutes which may be charged
in connection with Mortgage Fraud include: ... 18 U.S.C. 1014.”

30. ‘Inorder to close on the Long Boat Key vacation home, MOSBY needed $35,699.15
in liquid assets. As of January 25, 2021, she had only $31,043.24 in liquid assets available in her
checking account, leaving her approximately $4,656 short to close. Rather than wait for her next
paycheck to be deposited into her checking account, MOSBY submitted a false gift letter to United

Wholesale Mortgage on February 10, 2021. In it, she falsely claimed that her husband had made

her a gift of $5,000 “to be transferred AT CLOSING” to be applied toward the purchase of the

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Long Boat Key vacation home. The letter further stated that the source of the funds was her
husband’s Municipal Employee Credit Union (MECUV) account ending in 0882. On February 17,
2021, two days before closing, MOSBY’s husband wired $5,000 to the escrow agent. However,
the $5,000 was not, in fact, a gift MOSBY’s husband’s made to her, as the Gift Letter represented.
Rather, MOSBY had wired the $5,000 to her husband’s MECU account ending in 0882 on
February 12,2021. As of that date, her husband had less than $5,000 in his checking account. Her
husband then transferred the money from that account to his MECU savings account ending in
4022 and then transferred it back to his MECU checking account ending in 0882 before wiring it
to the escrow agent. MOSBY submitted the false gift letter on February 10, 2021, in order to lock
in a lower interest rate than she would have received if she waited until her next paycheck was
deposited into her checking account.
The Charge

31. Fromm or about January 2021 through in or about February 2021, in the District

of Maryland and elsewhere, the defendant,
_ MARILYN J. MOSBY

knowingly made a false statement or report for the purpose of influencing the action of United
Wholesale Mortgage, a mortgage lending business as defined in 18 U.S.C. § 20, in connection
with an application, advance, discount, purchase, purchase agreement, repurchase agreement,
commitment, or loan, in that: (1) as of December 2020, MOSBY had spent “the past 70 days”
living in Florida; (2) MOSBY certified the only liabilities that MOSBY had were those disclosed
in the application, when in truth and fact, as MOSBY knew, she owed significant amounts of
federal taxes; and (3) that she was not presently delinquent or in default on any Federal debt, when

in truth and in fact, as MOSBY knew, she was delinquent in paying her taxes resulting in the IRS

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filing a $45,022 lien against her on March 3, 2020; and (4) that MOSBY had received a $5,000
gift from her husband to be applied toward the purchase of the Long Boat Key vacation home

when in truth and in fact, she had not.

18 U.S.C. § 1014

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FORFEITURE ALLEGATION
The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant
that the United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.
§ 982, 21 U.S.C. § 853(p), and 28 U.S.C, § 2461(c), in the event of the defendant’s conviction on
any of the offenses charged in Counts Two and Four of the Indictment.
2. Upon conviction of the offense set forth in Counts Two and Four, the defendant,
‘MARILYN J. MOSBY,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2)(A), any property constituting

or derived from, proceeds obtained directly or indirectly as a result of the offense.

3. The property to be forfeited includes, but is not limited to, the following: a money
judgment representing the proceeds she obtained as a result of her convictions.

Substitute Assets

4. If any of the above-described forfeitable property, as a result of any act or
omission of the defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred, sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or

e. has been commingled with other property that cannot be divided without

difficulty,

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the United States shall be entitled to forfeiture of substitute property up to the value of the
forfeitable property described above, pursuant to 21 U.S.C. § 853(p), as incorporated by 18

U.S.C. § 982(b) and 28 U.S.C. § 2461(c).

18 U.S.C. § 982
21 U.S.C. § 853(p)

28 U.S.C. § 2461 (c)

Cah Z: Bevvcn JL)

Erek L. Barron
United States Attorney

A TRUE BILL:
afiof222 SIGNATURE REDACTED
Date Foreperson

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